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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT


POPTECH, L.P., individually, and on behalf of a
                                       )
class of others similarly situated,    )
                                       )                           CIVIL ACTION NO.:
             Plaintiff,                )                           3:10-cv-00967 (MRK)
                                       )
       v.                              )
                                       )
STEWARDSHIP CREDIT ARBITRAGE FUND, )
LLC; STEWARDSHIP INVESTMENT            )
ADVISORS, LLC; ACORN CAPITAL GROUP, )
LLC; MARLON QUAN; GUSTAVE ESCHER,      )
III; PAUL SEIDENWAR; and ROBERT BUCCI, )
                                       )
             Defendants.               )                           June 3, 2011



        ROBERT BUCCI’S MEMORANDUM OF LAW IN SUPPORT OF
HIS MOTION TO DISMISS THE SECOND AMENDED CLASS ACTION COMPLAINT


        This memorandum is respectfully submitted on behalf of defendant Robert Bucci in

support of his motion, pursuant to Federal Rules of Civil Procedure 9(b), 12(b)(1), 12(b)(6) and

the Private Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-4 (“PSLRA”), to dismiss

Counts II and IV of the Second Amended Class Action Complaint, dated May 2, 2011 (the

“SAC”). For the reasons set forth in Bucci’s briefs in support of his motion to dismiss the

Amended Complaint1 and as set forth below, plaintiffs’ “control person” claim under section

20(a) of the Securities Exchange Act of 1934, 15 U.S.C. § 78t(a), and their aiding and abetting

claim under the Connecticut Uniform Securities Act, Conn. Gen. Stat. § 36b-29, must be

dismissed.     Further, Bucci incorporates by reference the arguments made by Stewardship



1
 Bucci expressly incorporates by reference his February 14, 2011 Memorandum (Dkt # 70) and his Reply
Memorandum, dated April 8, 2011 (Dkt # 81).
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Investment Advisors, LLC and Marlon Quan in their May 23, 2011 in their memorandum in

support of their motion to dismiss the SAC.2

                                                  BACKGROUND

           The Court is familiar with the background of this matter and has entered a Memorandum

of Decision denying Paul Seidenwar’s motion to dismiss the same counts that have been asserted

against Bucci. Poptech, L.P. v. Stewardship Credit Arbitrage Fund, LLC, 2011 U.S. Dist.

LEXIS 57400 (D. Conn. 2011)(“Decision”). This memorandum will therefore focus on the

differences in the allegations against these two defendants.

       I. The new allegations against Mr. Bucci.

           Plaintiffs now allege that Mr. Bucci held positions in Acorn, the Fund and SIA;3 (SAC ¶

24); Bucci and others at Acorn helped create or review Powerpoints for some unspecified

investor “presentations;” (SAC ¶ 36); and that he was a “cc” recipient of a single email in 2005

that allegedly put him on notice that Acorn’s due diligence procedures were deficient; (SAC ¶¶

50, 74). They also make the conclusory allegations that Bucci never disclosed the Petters

default. (SAC ¶ 111). Plaintiffs also cite Quan’s testimony to the SEC that Bucci did not take

any action to confirm that Retailers “actually picked up merchandise.” (SAC ¶ 117).

           Plaintiffs also took the new tack of trying to bolster their conclusory allegations against

Bucci by summarizing the claims that purport to satisfy the “culpable participation” element of

their control person count. Paragraph 139 of the SAC has 19 subparagraphs. Fourteen of those

allegations relate only to Seidenwar and Quan. The five related to Bucci do not constitute

particularized allegations that he either recklessly or knowingly was involved in material

2
    Docket numbers 112, 113. SIA and Quan incorporate their earlier filings by reference in that brief.
3
 The Corporate Defendants are referred to by the following abbreviations: Stewardship Credit Arbitrage Fund,
LLC (“Fund”), Stewardship Investment Advisors, LLC (“SIA”) and Acorn Capital Group, LLC (“Acorn”).


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misrepresentations to the Fund’s investors. This imbalance reflects the fact that Bucci, unlike

Seidenwar, was not generally involved in underwriting matters for the particular loans to Petters.

       Plaintiffs made particular allegations as to Seidenwar’s involvement with the Petters

loans: They assert, among other things, that Seidenwar (i) knew that retailers were not making

direct payments to the Lockbox; (ii) knew that lax due diligence techniques were extremely

dangerous; (iii) attended meetings in which PAC Funding’s non-compliance with the Lockbox

agreement was discussed; (iv) participated in the forebearance agreement; (v) along with Quan,

but not Bucci, directed Miele’s due diligence activities; (v) discussed with Quan that the

transactions with PAC Funding fell outside of Acorn’s guidelines; (vi) was involved in

reviewing the ongoing defaults by PAC Funding; (vii) attempted to implement or enforce due

diligence procedures; (viii) was involved in deciding to extend the PAL term loan; and (viii) was

personally tracking Petters’ level of default. (SAC ¶ 139).

       The SAC is plaintiffs’ third crack at the apple. Their first complaint did not name Bucci

as a defendant. The Amended Complaint named Bucci using a myriad of conclusory and

inadequate allegations. Then, when a trove of material was made public in the SEC v. Quan,

Civil Action No. 11-723 (D. Minn.) matter, plaintiffs again amended the complaint by

attempting to incorporate that material. It is beyond peradventure that if there was any basis for

plaintiffs to make the above-referenced charges against Bucci, in addition to Seidenwar, they

would have. The distinctions between the allegations against Bucci and Seidenwar are material

and should compel a different outcome with respect to their motions to dismiss.




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           II. The Control Person claim against Bucci should be dismissed.

           As this Court reiterated, liability under section 20(a) of the Securities Exchange Act of

1934, 15 U.S.C. § 78t(a), requires that a plaintiff show (1) a primary violation by the controlled

person; (2) control of the primary violator by the defendant; and (3) the defendant was, in some

meaningful sense, a culpable participant in the controlled person’s fraud. Decision4 at 3. For the

reasons set forth below, plaintiffs have not established all of these elements.5

                 A.     Plaintiffs have not alleged a primary violation by the controlled person.

           For the reasons s reasons explained in the Memorandum of SIA and Quan in support of

their motion to dismiss the SAC, plaintiffs have failed to alleged a primary violation by Acorn,

SIA or the Fund of the Securities Exchange Act of 1934. 15 U.S.C. § 78j(b); 17 C.F.R. §

240.10b-5. Bucci adopts and incorporates those arguments herein. Bucci also adopts and

incorporates the arguments that the case should be dismissed as the plaintiffs lack standing to

assert direct claims. Because SIA, the Fund and Acorn should not be held liable as primary

violators, Bucci cannot be held secondarily liable as a control person.

                 B.     Bucci was not a culpable participant in a primary violation

           The Court determined that to meet the culpable participation element of control person

liability the plaintiffs must allege with the particularity required by the PSLRA that the defendant

“participated in a fraud in some meaningful way, with a state of mind approaching recklessness.”

Decision at 11, 20.




4
    Page number citations to the Decision refer to the pagination as released by the Court through the Pacer system.
5
  Bucci does not concede that he had “actual control over the transaction in question," In re Alstom SA Securities
Litigation, 406 F. Supp.2d 433, 487 (S.D.N.Y. 2005)(collecting authority), as is required to establish the element of
“control.” However, Bucci contends that the motion to dismiss should be granted even assuming arguendo, that this
prong is met based on the new allegations (SAC ¶ 24) and the Court’s ruling regarding the applicable pleading
standard. Decision at 9-10.


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       In determining that plaintiffs met this pleading standard with respect to their claims

against Seidenwar, the Court found that he was at least reckless “in failing to take steps to correct

the information Mr. Quan was providing Stewardship Fund’s investors.” Decision at 21. The

Court found that the SAC alleged that Seidenwar was a high-ranking officer at Acorn; Acorn at

least initially approved communications to investors; and thereafter Acorn began passing the risk

of its loans to the Fund’s investors. Decision at 21-22. In this determination the Court also

included Bucci’s alleged role in some of its broad findings. However, Bucci is entitled to a

separate examination as to whether the allegations against him meet the PSLRA specificity

requirements.

       As noted above, it is not alleged that Bucci was involved in the underwriting of the

Petters loans. As described above with respect to paragraph 139 of the SAC, the allegations

against Seidenwar with respect to his involvement with and knowledge of the Petters loans are

much more specific and particular.

       By contrast, the allegations relied on by the plaintiffs are insufficient to establish Bucci’s

culpable participation with respect to misrepresentations made in the investor communications.

The fact that Bucci was a “cc” recipient of an email in November 2005 concerning due diligence

procedures (SAC ¶ 139(a)) is hardly a particularized allegation that Bucci had knowledge that

Acorn’s due diligence was not in compliance with what the Fund’s investors were being told.

Indeed DZ Bank completed the transaction that was the subject of that email despite its

“concerns.” Moreover, as described in the briefs submitted by SIA and Quan, due diligence was

being conducted. Plaintiffs do not allege that it was Bucci’s responsibility to micromanage the

due diligence and compare it to the investor disclosures.




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       It is also not a sufficiently particular allegation that Bucci had “control” over the lockbox.

(SAC ¶ 139(b),(e)). While it is unclear what that allegation exactly means, it cannot be read to

mean that Bucci understood that due diligence procedures were not in compliance with investor

disclosures. For example, Bucci is alleged to have told Miele that PAC Funding could prepay a

loan (SAC ¶ 100). It was true (and not even alleged to have been false) that PAC Funding could

prepay a loan; and seeing that the loan was repaid, rather than going into default, was fully

consistent with Bucci’s job responsibilities.

       It is also alleged that Bucci spoke at meetings with prospective investors and had some

knowledge of the PPMs. (SAC ¶ 139(p), (r)). These allegations are much less specific than

allegations in other cases that were found to be insufficient to plead culpable participation. In

this regard, Bucci respectfully refers the Court to the discussion of In re MBIA, Inc., Securities

Litigation, 700 F. Supp.2d 566 (S.D.N.Y 2010) in his February 14, 2011 Brief at 14-17. Indeed,

numerous courts have found control person allegations against CFOs of public companies to be

insufficient even though they allegedly knew of a fraud and signed SEC documents that

contained alleged material misrepresentations and omissions. See e.g., In re SLM Corp.,

Securities Litigation, 740 F. Supp.2d 542, 560 (S.D.N.Y. 2010)(control person claims against

CFO/CEO dismissed when plaintiffs cannot establish scienter; court noting that an allegation that

a defendant ought to have known certain information is not sufficient to establish recklessness);

In re Take-Two Interactive Securities Litigation, 551 F. Supp.2d 247, 304-05, 307-08 (S.D.N.Y.

2008) (CFO who signed SEC documents that allegedly contained false information regarding

stock option backdating fraud did not act with knowledge or recklessness and therefore control

person claims against him dismissed); In re Refco, Inc. Securities Litigation, supra, 503 F.

Supp.2d 611, 642-44, 662-63 (S.D.N.Y. 2007)(former CFO not subject to control person liability



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even though plaintiffs clearly alleged not only that he was reckless in failing to discover the

fraud, but actually knew about it). Cf., In re Fannie Mae 2008 Securities Litigation, 742 F.

Supp.2d 382 (S.D.N.Y 2010)(discussed in Bucci’s April 8, 2011 Reply Brief).

       Finally, the Court’s view that Bucci was involved in a “secret” scheme is apparently

based on the statements of confidential witnesses. (SAC ¶ 132). But, these allegations include

mere speculation (for example) concerning the purpose of “closed door meetings” and other

matters. One court recently discounted allegations from confidential witnesses because "[i]t is

hard to see how information from anonymous sources could be deemed 'compelling' or how [the

Court] could take account of plausible opposing inferences. Perhaps these confidential sources

have axes to grind. Perhaps they are lying. Perhaps they don't even exist." In re MRU Holdings

Secs. Litig., 2011 U.S. Dist. LEXIS 15969 (S.D.N.Y. 2011)(quoting Higginbotham v. Baxter

Int'l, Inc., 495 F.3d 753, 756-57 (7th Cir. 2007); citing Tellabs, Inc. v, Makor Issues & Rights,

Ltd., 551 U.S. 308, 314(2007)).

       Taken as a whole the allegations against Bucci do not permit a reasonable inference that

Bucci acted with the requisite knowledge or recklessness to be found a culpable participant in the

alleged securities law violations. Because of his more limited role regarding the Petters loans

(that plaintiffs acknowledge), the inference that Bucci was not responsible for harmonizing the

due diligence activity with the Fund’s investor communications, is cogent and more compelling

than the opposing inference that the Court applied to Seidenwar’s conduct. Decision at 20-21.

Accordingly, Bucci respectfully maintains that the Court should find that the plaintiffs did not

allege his culpable participation in the alleged fraud with the particularity required by the

PSLRA and Count II should be dismissed.




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   III. The CUSA count should be dismissed.

      For the reasons set forth in Bucci’s February 14, 2011 and April 8, 2011 Briefs, the claim

for adding and abetting a violation of the Connecticut Uniform Securities Act should also be

dismissed.



                                       CONCLUSION

       For the foregoing reasons, and for reasons set forth in Bucci’s February 14, 2011 and

April 8, 2011 Briefs, as well as the briefs filed by SIA, Acorn and the Fund, Bucci respectfully

contends that his motion to dismiss Counts II and IV should be granted.




                                                   Robert Bucci,



                                            By:    ___/s/ Ian E. Bjorkman___________
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                               CERTIFICATION

I hereby certify that on June 3, 2011 a copy of foregoing Memorandum in Support
of Robert Bucci’s Motion to Dismiss was filed electronically. Notice of this filing
will be sent by e-mail to all parties by operation of the Court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the Court’s
CM/ECF System.




                                             __/s/ Ian E. Bjorkman____________
                                             Ian E. Bjorkman




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